426 F.2d 1298
    Morton LIPSHUTZ, Administrator of the Estate of Arthur B.Jarrett, Jr., Deceasedv.Roy ULLMAN and Florence Ullman, Husband and Wife, and JohnStoutenburgh, Jr. and John Stoutenburgh, Sr.Roy Ullman, Appellant in No. 18401, Florence Ullman,Appellant in No. 18402.
    Nos. 18401, 18402.
    United States Court of Appeals, Third Circuit.
    Argued April 9, 1970.Decided May 4, 1970.
    
      James J. McEldrew, Philadelphia, Pa.  (Cole, McEldrew, Hanamirian &amp; McWilliams, Philadelphia, Pa., on the brief), for appellants.
      Robert M. Ross, Richter, Syken, Ross, Binder &amp; O'Neill, Philadelphia, Pa.  (B. Nathaniel Richter, Philadelphia, Pa., on the brief), for appellee Lipshutz.
      Joseph G. Manta, LaBrum &amp; Doak, Philadelphia, Pa.  (Daniel J. Ryan, Philadelphia, Pa., on the brief), for appellee Stoutenburgh.
      Before SEITZ and ALDISERT, Circuit Judges, and LATCHUM, District judge.
      OPINION OF THE COURT
      PER CURIAM.
    
    
      1
      By this appeal appellants seek to review the correctness of the district court's order denying their motions for a new trial or judgment n.o.v.
    
    
      2
      A monetary judgment was entered against appellants as a result of a jury verdict in a diversity negligence action arising out of an automobile accident in Pennsylvania.  Appellants contend that there was no evidence justifying a finding of negligence, that the verdict was contrary to the law and the evidence, and that the jury was improperly made aware of the fact that a defendant was insured.
    
    
      3
      We agree with the district court's conclusion in 313 F.Supp. 320 that there was ample evidence to justify the jury's verdict.  We also agree that in the setting in which the fact of insurance came to be mentioned by a witness, there was no error in refusing to grant a new trial.
    
    
      4
      The order of the district court will be affirmed.
    
    